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Cytel Acquires MTEK Sciences, Further Expanding Its
Advanced Real-World Analytics Capabilities
The acquisition of MTEK is the latest step in Cytel’s journey to advance the field
of modern data analytics
Nov 04, 2019 Cytel



COPENHAGEN, DENMARK — ISPOR Europe 2019 — Cytel Inc. (“Cytel” or the
“Company”), the leading provider of innovative analytical software and consulting
services to the biopharmaceutical sector, and a portfolio company of New Mountain
Capital, today announced that it has acquired MTEK Sciences (“MTEK”) to further
expand its advanced real-world analytics (RWA) capabilities. Cytel is showcasing its
extensive range of RWA solutions for the first time at ISPOR Europe 2019 (November
2–6) on booth #C3-063. The acquisition of MTEK is the latest step in Cytel’s journey to
advance the field of modern data analytics.


The use of real-world data (RWD) from a variety of sources, such as information from
electronic healthcare records and wearable devices, has the potential to expedite the
design and implementation of clinical trials, facilitate product commercialization, and
better inform healthcare decision-making. As a result, many pharmaceutical companies
are now looking to augment their clinical development and commercialization processes
through its utilization.


“Complex RWD sets are now abundant in the healthcare sector, opening up a wealth of
opportunity for pharmaceutical organizations of all sizes,” said Joshua Schultz, chief
executive officer at Cytel. “Advanced and more sophisticated analytical methods and
decision-modeling techniques are needed to harness RWD and turn it into trustworthy
evidence. At Cytel, we’re applying our long history of innovative statistical methods to
RWD to generate cost-effective insights for our clients, and the acquisition of MTEK is
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another avenue where we are amplifying this approach.”


Over the past 30 years, Cytel has been committed to facilitating more efficient and
resourceful clinical development, including through pioneering the evolution of the
adaptive clinical trial, an area MTEK has also excelled at. Cytel’s team includes more than
100 specialist programmers and applied statisticians with direct experience in the area of
RWA—from HEOR to the design of novel RWD-driven clinical trials. Together they are
helping companies use RWD to support smarter clinical development and, through
innovative approaches to comparative effectiveness research, create more efficient
commercialization strategies.


MTEK Sciences specializes in using innovative methods such as machine learning models
and Bayesian optimization to derive clinical insights from large and complex RWD. As
such, the acquisition of the firm will allow Cytel to continue to build on its strong
foundation in the RWA space.


Professor Edward Mills, founding partner and director of MTEK, said, “Our experience
has shown us that companies need to look beyond the confines of traditional analytical
approaches if RWD is to positively transform clinical development. In working with Cytel,
we're enhancing our combined ability to develop and deploy the novel solutions needed
to confidently guide companies through this rapidly changing landscape.”


Professor Kristian Thorlund, founding partner and director of MTEK Sciences, added,
“Cytel and MTEK have a tightly aligned vision for the future of RWD applications.
Combining our comprehensive statistical know-how means we can deliver greater
innovation to a wider array of companies as they seek to enrich their drug development
process with RWD.”


Commenting on Cytel’s attendance at ISPOR Europe 2019, Joshua Schultz added, “Three
decades of rich statistical expertise and experience has guided the development of our
cutting-edge RWA solutions—and we look forward to meeting with delegates to discuss
how we can help them effectively leverage these to achieve their goals.”


To find out more about Cytel’s RWA capabilities, visit booth #C3-063 during ISPOR
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Europe 2019 or visit https://www.cytel.com/services/strategic-consulting/real-world-
evidence.


About Cytel


As a pioneer in evidence generation, with deep expertise in advanced analytical solutions,
Cytel is uniquely equipped to unlock the value from increasingly complex data. Life
sciences companies count on Cytel to deliver exceptional insight, minimize trial risk,
accelerate the development of promising new medicines that improve human life, and
unlock the value of these treatments. Cytel provides data-focused clinical research
services and software solutions for the design and analysis of clinical trials, including
industry standards East®, StatXact®, and LogXact®. With operations across North
America, Europe, and India, Cytel employs 900 professionals, with strong talent in
biostatistics, programming, data science, real-world analytics, and data management.
For more information about Cytel, visit https://www.cytel.com/.


MTEK Sciences is a bespoke health research firm specializing in innovative solutions to
make the most of real-world evidence (RWE). The company harnesses the latest
advances in Bayesian techniques to create synthetic control cohorts, extend health
models to key populations and incorporate highly efficient clinical trial designs. For more
information about MTEK, visit https://www.mteksciences.com/.


About New Mountain Capital


New Mountain Capital is a New York-based investment firm that emphasizes business
building and growth, rather than debt, as it pursues long-term capital appreciation. The
firm currently manages private equity, public equity, and credit funds with over $20
billion in assets under management. New Mountain seeks out what it believes to be the
highest quality growth leaders in carefully selected industry sectors and then works
intensively with management to build the value of these companies. For more
information on New Mountain Capital, please visit
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